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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    RUDOLPH BUENDIA, III
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )
                                                      )   No. 1:10-cr-00285 OWW
12                          Plaintiff,                )
                                                      )   WAIVER OF DEFENDANT’S PERSONAL
13          v.                                        )   PRESENCE; ORDER THEREON
                                                      )
14   RUDOLPH BUENDIA, III,                            )
                                                      )   Hon. Oliver W. Wanger
15                          Defendant.                )
                                                      )
16   _____________________________________
17
18          The undersigned defendant, Rudolph Buendia III, having been advised of his right to be present in
19   person in open court upon the hearing of any motion or other pre-trial proceeding in this cause,
20   including but not limited to, status conference, motions hearing, trial setting, and/or when a
21   continuance is ordered, hereby waives the right to be present at said hearings. He requests the court to
22   allow his attorney to make such appearances on his behalf and to request the Court set a motions schedule
23   and/or schedule the matter for trial, including such eharings as may be appropriate at a time mutually
24   convenient to the court and counsel. Defendant further hereby requests the Court to proceed during every
25   absence of his which the Court may permit pursuant to this waiver; agrees that his interests will be deemed
26   represented at all times by the presence of his attorney, the same a if defendant were personally present.
27   ///
28   ///
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1             Defendant currently resides in Planada. Due to the time, distance ane expense involved, travel to
2    Fresno for court appearances which solely involve scheduling and/or non-dispositive motions would be
3    both a financial hardship. Consequently, Defendant wishes to limit the number of personaL court
4    appearances, mainly those that are for setting of new dates, thereby minimizing the time and expense of
5    travel to Fresno.
6             This request is made pursuant to Fed.R.Crim.P. 45(b)(3).
7             DATED: May 16, 2011
8
9                                                                 /s/ Rudolph Buendia III
                                                                  RUDOLPH BUENDIA III
10                                                                Defendant
11
12                                                                /s/ Francine Zepeda
                                                                  FRANCINE ZEPEDA
13                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
14
15
16                                                   ORDER
17            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance may be
18   waived at any and all non-substantive pretrial proceedings until further order.
19
20   IT IS SO ORDERED.
21   Dated: May 16, 2011                               /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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     Waiver of Defendant’s Personal Presence;
     [Proposed] Order Thereon                              2
                                                           2
